              Case 1-19-40603-nhl        Doc 11     Filed 05/10/19     Entered 05/11/19 00:21:26

                                      United States Bankruptcy Court
                                      Eastern District of New York
In re:                                                                                 Case No. 19-40603-nhl
Diane J Signorile                                                                      Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0207-1          User: admin                  Page 1 of 2                   Date Rcvd: May 08, 2019
                              Form ID: 318DI7              Total Noticed: 35


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 10, 2019.
db              Diane J Signorile,    32 Franklin Ln,    Apt C,    Staten Island, NY 10306-6102
smg            +NYC Department of Finance,    345 Adams Street,     Office of Legal Affairs,
                 Brooklyn, NY 11201-3739
smg            +NYS Unemployment Insurance,     Attn: Insolvency Unit,    Bldg. #12, Room 256,
                 Albany, NY 12240-0001
9449367         Chase Auto,   PO Box 901003,     Fort Worth, TX 76101-2003
9449371         Citicards Cbna,    PO Box 6217,    Sioux Falls, SD 57117-6217
9449372         ConServe,   200 Cross Keys Office Park,     Fairport, NY 14450-3510
9449376         Del Rey Tanzi & Gavin,    148 New Dorp Ln,    Staten Island, NY 10306-3004
9449378       ++FORSTER & GARBUS LLP,    60 VANDERBILT MOTOR PARKWAY,     P O BOX 9030,   COMMACK NY 11725-9030
               (address filed with court: Forster & Garbus, LLP,       60 Vanderbilt Motor Pkwy,
                 Commack, NY 11725-5710)
9449377         Fiore Law Firm, PC,    623 N Railroad Ave,    Staten Island, NY 10304-3914
9449379        +Freedom Mortgage Corp,    10500 Kincaid Dr,     Fishers, IN 46037-9764
9449380         Freedom Mortgage Corporation,     Attn: Bankruptcy,    PO Box 50428,
                 Indianapolis, IN 46250-0401
9449383        +Max D Leifer , PC,    135 W 26th St Ste 11,     New York, NY 10001-6809
9449384         Mazda Capital Services c/o Chase,     PO Box 78074,    Phoenix, AZ 85062-8074
9449390         Sears/Cbna,   PO Box 6217,    Sioux Falls, SD 57117-6217
9449391         Selip & Stylianou, LLP,    199 Crossways Park Dr,     Woodbury, NY 11797-2016

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov May 08 2019 18:44:12
                 NYS Department of Taxation & Finance,    Bankruptcy Unit,    PO Box 5300,
                 Albany, NY 12205-0300
smg            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov May 08 2019 18:43:49
                 Office of the United States Trustee,    Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,    201 Varick Street, Suite 1006,    New York, NY 10014-9449
9500816         EDI: BECKLEE.COM May 08 2019 22:38:00      American Express National Bank,
                 c/o Becket and Lee LLP,   PO Box 3001,    Malvern PA 19355-0701
9449365         EDI: CAPITALONE.COM May 08 2019 22:38:00      Capital One,    Attn: Bankruptcy,    PO Box 30285,
                 Salt Lake City, UT 84130-0285
9449366         EDI: CAPITALONE.COM May 08 2019 22:38:00      Capital One Bank USA N,     PO Box 30281,
                 Salt Lake City, UT 84130-0281
9449368         EDI: CHASE.COM May 08 2019 22:38:00      Chase Card Services,    Correspondence Dept,
                 PO Box 15298,   Wilmington, DE 19850-5298
9449369         EDI: CITICORP.COM May 08 2019 22:38:00      Citibank/Sears,    Attn: Bankruptcy,    PO Box 6275,
                 Sioux Falls, SD 57117-6275
9449370         EDI: CITICORP.COM May 08 2019 22:38:00      Citicards Cbna,    Citi Bank,    PO Box 6077,
                 Sioux Falls, SD 57117-6077
9449373        +EDI: CONVERGENT.COM May 08 2019 22:38:00      Convergent Outsourcing Inc,
                 800 SW 39th St Ste 100,   Renton, WA 98057-4927
9449374        +EDI: CRFRSTNA.COM May 08 2019 22:38:00      Credit First N A,    6275 Eastland Rd,
                 Brookpark, OH 44142-1399
9449375         EDI: CRFRSTNA.COM May 08 2019 22:38:00      Credit First National Association,
                 Attn: Bankruptcy,   PO Box 81315,    Cleveland, OH 44181-0315
9449381         E-mail/Text: bncnotices@becket-lee.com May 08 2019 18:43:35       Kohls/Capital One,
                 Kohls Credit,   PO Box 3120,    Milwaukee, WI 53201-3120
9449382        +E-mail/Text: bncnotices@becket-lee.com May 08 2019 18:43:35       Kohls/capone,
                 N56 W 17000 Ridgewood Dr,    Menomonee Falls, WI 53051-7096
9449386         EDI: MID8.COM May 08 2019 22:38:00      Midland Funding,    2365 Northside Dr Ste 30,
                 San Diego, CA 92108-2709
9449385         EDI: MID8.COM May 08 2019 22:38:00      Midland Funding,    2365 Northside Dr Ste 300,
                 San Diego, CA 92108-2709
9449387         E-mail/Text: nys.dtf.bncnotice@tax.ny.gov May 08 2019 18:44:12
                 New York State Dept of Taxation & Financ,    PO Box 5300,    Albany, NY 12205-0300
9449389         EDI: PRA.COM May 08 2019 22:38:00      Portfolio Recovery Associates LLC,     PO Box 12914,
                 Norfolk, VA 23541-0914
9449388         EDI: PRA.COM May 08 2019 22:38:00      Portfolio Recov Assoc,    120 Corporate Blvd Ste 1,
                 Norfolk, VA 23502-4952
9449392         EDI: WTRRNBANK.COM May 08 2019 22:38:00      Td Bank USA/Targetcred,    PO Box 673,
                 Minneapolis, MN 55440-0673
9449393         EDI: WTRRNBANK.COM May 08 2019 22:38:00      Tnb-Visa (TV) / Target,
                 C/O Financial & Retail Services Mailstop,    PO Box 9475,    Minneapolis, MN 55440-9475
                                                                                               TOTAL: 20

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                         TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

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             ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 10, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 8, 2019 at the address(es) listed below:
              Alan Nisselson    anisselson@windelsmarx.com,
               theston@windelsmarx.com;mcorwin@windelsmarx.com;n159@ecfcbis.com
              Kevin Zazzera    on behalf of Debtor Diane J Signorile kzazz007@yahoo.com
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor 1              Diane J Signorile                                        Social Security number or ITIN   xxx−xx−9083
                      First Name   Middle Name   Last Name                     EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                       Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                               EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of New York

Case number: 1−19−40603−nhl




Order of Discharge of Debtor(s)                                                                                 Revised: 12/15



IT IS ORDERED:

A discharge under 11 U.S.C. § 727 is granted to:

           Diane J Signorile




                                                                      BY THE COURT:


           Dated: May 8, 2019                                         s/ Nancy Hershey Lord
                                                                      United States Bankruptcy Judge




                          SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




Official Form 318DI7                     Chapter 7 Order of Discharge of Debtor(s)                          page 1
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                             EXPLANATION OF BANKRUPTCY DISCHARGE
                                      IN A CHAPTER 7 CASE
      This court order grants a discharge to the person(s) named in the order. This order does not close or
dismiss the case, and it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged.
For example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue
a lawsuit, to attach wages or other property, or to take any other action to collect a discharged debt from
the debtor(s). A creditor who violates this order can be required to pay damages and attorney's fees to the
debtor(s).

       However, a creditor may have the right to enforce a valid lien, such as a mortgage or security
interest, against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the
bankruptcy case. Also, a debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
        The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was
filed. (If this case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7,
the discharge applies to debts owed when the bankruptcy case was converted.)

Debts That are Not Discharged

    Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

    a. Debts for most taxes;

    b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

    c. Debts that are domestic support obligations;

    d. Debts for most student loans;

    e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

    f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or
    aircraft while intoxicated;

    g. Some debts which were not properly listed by the debtor;

    h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are
    not discharged;

    i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation
    agreement in compliance with the Bankruptcy Code requirements for reaffirmation of debts;

    j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift
    Savings Plan for federal employees for certain types of loans from these plans (in a case filed on or
    after October 17, 2005).

        In addition, this discharge does not stop creditors from collecting from anyone else who is also
liable on the debt, such as an insurance company or a person who cosigned or guaranteed a loan.

      This information is only a general summary of the bankruptcy discharge. There are
exceptions to these general rules. Because the law is complicated, you may want to consult an
attorney to determine the exact effect of the discharge in this case.

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